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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_________________________________
                                  )
Senator RICHARD BLUMENTHAL,      )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )Civil Action No. 17-1154 (EGS)
                                  )
DONALD J. TRUMP, in his official )
capacity as President of the      )
United States,                    )
                                  )
               Defendant.         )
_________________________________)


                                 ORDER


     For the reasons stated in the accompanying Memorandum

Opinion, the Court finds that plaintiffs have standing to sue

the President for allegedly violating the Foreign Emoluments

Clause of the United States Constitution. It is hereby

     ORDERED that the motion to dismiss is DENIED IN PART and

DEFERRED IN PART. The Court will schedule a motion hearing

should it determine one to be necessary to resolve the remaining

issues.

SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          September 28,2018
